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           ORDERED in the Southern District of Florida on December 27, 2017.




                                                       A. Jay Cristol, Judge
                                                       United States Bankruptcy Court
_____________________________________________________________________________




                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
          IN RE:
          OSCAR IZQUIERDO,                    Case no. 17-22502-AJC
                                              Chapter 7 Case
                   Debtor(s).            /


           AGREED ORDER APPROVING JOINT EX-PARTE AGREED MOTION TO APPROVE
                  ASSUMPTION OF LEASE AND LIMITED RELIEF FROM STAY


               THIS CAUSE came before the Court without hearing on the
          Joint Ex-Parte Motion of Cab East LLC and Debtor to Approve

          Assumption of Lease and for Limited Relief from Stay.                         Debtor

          wishes to assume the July 31, 2016 lease with Cab East LLC (“Cab

          East”)   regarding    the   2017   LINCOLN     MKZ,    VIN     3LN6L5C93HR614881

          (account no. xxxx0133).        Cab East agrees to the entry of this

          order. Pursuant to section 365(d)(1) of the Bankruptcy Code, the

          chapter 7 trustee had until December 15, 2017 to assume the
          lease of personal property.         The Trustee has not filed a motion
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to approve or authorize assumption of the lease. Accordingly,

upon consideration of the joint motion and the record, it is

    ORDERED as follows:

    1.      Debtor’s   assumption        of     the   lease     with    Cab     East   is

APPROVED.

    2.      The automatic stay is modified to allow Cab East, in

its sole discretion, to resume submitting monthly invoices to

debtor pursuant to the lease.
    3.      Rule   4001(a)(3)   of       the     Federal    Rules      of     Bankruptcy

Procedure is not applicable and Cab East may immediately enforce

and implement this order.



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Copies furnished to:

Gerard M. Kouri, Jr., Esq., counsel for Cab East
Office of the US Trustee
Marcia T. Dunn, Trustee
Patrick L. Cordero, Esq., attorney for debtor

Attorney Kouri is directed to mail a conformed copy of this
Order to Oscar Izquierdo, debtor, immediately upon receipt of
this Order and shall file a certificate of service with the
Clerk of the Court.

Submitted by:
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